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                                                                             October 21, 2016

                               GUARANTY OF RECOURSE OBLIGATIONS

        This GUARANTY OF RECOURSE OBLIGATIONS (this "Guaranty") is executed
as of October 21, 2016 by WILLIAM KORNBLUTH, an individual, having an address at
57444 Bandera Road, Yucca Valley, California 92284 and CHERYL TYLER, an individual,
having an address at 302 W. Bay Area Boulevard, Webster, Texas 77598 (whether one or more
collectively referred to as "Guarantor") , for the benefit of RIAL TO MORTGAGE
FINANCE, LLC, a Delaware limited liability company, having an address at 600 Madison
Avenue, 12th Floor, New York, New York 10022 (together with its successors and assigns,
"Lender").

                                                       WITNESSETH:

        WHEREAS, pursuant to that certain Promissory Note, dated of even date herewith,
executed by KORNBLUTH TEXAS, LLC, a Texas limited liability company ("Borrower")
and payable to the order of Lender in the original principal amount of EIGHT MILLION
THREE HUNDRED FIFTY THOUSAND AND 00/100 DOLLARS ($8,350,000.00)
(together with all renewals, modifications, increases and extensions thereof, the "Note"),
Borrower has become indebted, and may from time to time be further indebted, to Lender with
respect to a loan (the "Loan") which is made pursuant to that certain Loan Agreement, dated of
even date herewith, between Borrower and Lender (as the same may be amended, modified,
supplemented, replaced or otherwise modified from time to time, the "Loan Agreement");

       WHEREAS, Lender is not willing to make the Loan, or otherwise extend credit, to
Borrower unless Guarantor unconditionally guarantees payment and performance to Lender of
the Guaranteed Obligations (as herein defined) in accordance with the terms and conditions of
this Guaranty;

      WHEREAS, Guarantor is the owner of a direct or indirect interest in Borrower, and
Guarantor will directly benefit from Lender's making the Loan to Borrower; and

      WHEREAS, capitalized terms used but not otherwise defined herein shall have the
meanings ascribed to such terms in the Loan Agreement.

       NOW, THEREFORE, as an inducement to Lender to make the Loan to Borrower and to
extend such additional credit as Lender may from time to time agree to extend under the Loan
Documents, and for other good and valuable consideration, the receipt and legal sufficiency of
which are hereby acknowledged, the parties do hereby agree as follows:

                                              ARTICLE I
                                    NATURE AND SCOPE OF GUARANTY

       Section 1.1  (a)     Guarantor hereby irrevocably and unconditionally guarantees to
Lender and its successors and assigns the payment and performance of the Guaranteed
Obligations as and when the same shall be due and payable, whether by lapse of time, by
acceleration of maturity or otherwise. Guarantor hereby irrevocably and unconditionally


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covenants and agrees that it is liable for the Guaranteed Obligations as a primary obligor. As
used herein, the term "Guaranteed Obligations" shall mean all obligations and liabilities of
Borrower for which Borrower shall be personally liable pursuant to Section 8.6 of the Loan
Agreement.

       (b)      Notwithstanding anything to the contrary in this Guaranty or in any of the other
Loan Documents, Lender shall not be deemed to have waived any right which Lender may have
under Section 506(a), 506(b), 11 ll(b) or any other provisions of the Bankruptcy Code to file a
claim for the full amount of the Debt or to require that all collateral shall continue to secure all of
the Obligations owing to Lender in accordance with the Loan Documents.

       Section 1.2   It is expressly understood and agreed that this is a continuing guaranty and
that the obligations of Guarantor hereunder are and shall be absolute under any and all
circumstances, without regard to the validity, regularity or enforceability of the Note, the Loan
Agreement, the Security Instrument, or the other Loan Documents, a true copy of each of said
documents Guarantor hereby acknowledges having received and reviewed.

        Section 1.3      Any indebtedness of Borrower to Guarantor now or hereafter existing
(including, but not limited to, any rights to subrogation Guarantor may have as a result of any
payment by Guarantor under this Guaranty), together with any interest thereon, shall be, and
such indebtedness is, hereby deferred, postponed and subordinated to the prior payment in full of
the Debt. Until payment in full of the Debt (and including interest accruing on the Note after the
commencement of a proceeding by or against Borrower under the Bankruptcy Reform Act of
1978, as amended, 11 U.S.C. Sections 101 et seq., and the regulations adopted and promulgated
pursuant thereto (collectively, the "Bankruptcy Code") which interest the parties agree shall
remain a claim that is prior and superior to any claim of Guarantor notwithstanding any contrary
practice, custom or ruling in cases under the Bankruptcy Code generally), Guarantor agrees not
to accept any payment or satisfaction of any kind of indebtedness of Borrower to Guarantor and
hereby assigns such indebtedness to Lender, including the right to file proof of claim and to vote
thereon in connection with any such proceeding under the Bankruptcy Code, including the right
to vote on any plan of reorganization. Further, if Guarantor shall comprise more than one
person, firm or corporation, Guarantor agrees that until such payment in full of the Debt, (a) no
one of them shall accept payment from the others by way of contribution on account of any
payment made hereunder by such party to Lender, (b) no one of them will take any action to
exercise or enforce any rights to such contribution, and (c) if any of Guarantor should receive
any payment, satisfaction or security for any indebtedness of Borrower to any of Guarantor or for
any contribution by the others of Guarantor for payment made hereunder by the recipient to
Lender, the same shall be delivered to Lender in the form received, endorsed or assigned as may
be appropriate for application on account of, or as security for, the Debt and until so delivered,
shall be held in trust for Lender as security for the Debt.

        Section 1.4    Guarantor agrees that, with or without notice or demand, Guarantor will
reimburse Lender, to the extent that such reimbursement is not made by Borrower, for all
reasonable out-of-pocket expenses (including counsel fees) incurred by Lender in connection
with the collection of the Guaranteed Obligations or any portion thereof or with the enforcement
of this Guaranty.



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        Section 1.5    All moneys available to Lender for application in payment or reduction of
the Debt may be applied by Lender in such manner and in such amounts and at such time or
times and in such order and priority as Lender may see fit to the payment or reduction of such
portion of the Debt as Lender may elect.

       Section 1.6  Guarantor hereby waives notice of the acceptance hereof, presentment,
demand for payment, protest, notice of protest, or any and all notice of non-payment, non-
performance or non-observance, or other proof, or notice or demand, whereby to charge
Guarantor therefor.

        Section 1. 7   Guarantor further agrees that the validity of this Guaranty and the
obligations of Guarantor hereunder shall in no way be terminated, affected or impaired (a) by
reason of the assertion by Lender of any rights or remedies which it may have under or with
respect to either the Note, the Loan Agreement, the Security Instrument, or the other Loan
Documents, against any person obligated thereunder or against the owner of the Property, or (b)
by reason of any failure to file or record any of such instruments or to take or perfect any
security intended to be provided thereby, or (c) by reason of the release or exchange of any
property covered by the Security Instrument or other collateral for the Loan, or (d) by reason of
Lender's failure to exercise, or delay in exercising, any such right or remedy or any right or
remedy Lender may have hereunder or in respect to this Guaranty, or (e) by reason of the
commencement of a case under the Bankruptcy Code by or against any person obligated under
the Note, the Loan Agreement, the Security Instrument or the other Loan Documents, or the
death of any Guarantor, or (f) by reason of any payment made on the Debt or any other
indebtedness arising under the Note, Loan Agreement, the Security Instrument or the other Loan
Documents, whether made by Borrower or Guarantor or any other person, which is required to
be refunded pursuant to any bankruptcy or insolvency law; it being understood that no payment
so refunded shall be considered as a payment of any portion of the Debt, nor shall it have the
effect of reducing the liability of Guarantor hereunder. It is further understood, that if Borrower
shall have taken advantage of, or be subject to the protection of, any provision in the Bankruptcy
Code, the effect of which is to prevent or delay Lender from taking any remedial action against
Borrower, including the exercise of any option Lender has to declare the Debt due and payable
on the happening of any default or event by which under the terms of the Note, the Loan
Agreement, the Security Instrument or the other Loan Documents, the Debt shall become due
and payable, Lender may, as against Guarantor, nevertheless, declare the Debt due and payable
and enforce any or all of its rights and remedies against Guarantor provided for herein.

         Section 1.8    Guarantor further covenants that this Guaranty shall remain and continue
in full force and effect as to any modification, extension or renewal of the Note, the Loan
Agreement, the Security Instrument, or any of the other Loan Documents, that Lender shall not
be under a duty to protect, secure or insure any security or lien provided by the Security
Instrument or other such collateral, and that other indulgences or forbearance may be granted
under any or all of such documents, all of which may be made, done or suffered without notice
to, or further consent of, Guarantor.

       Section 1.9  This is a guaranty of payment and not of collection and upon any default
of Borrower under the Note, the Loan Agreement, the Security Instrument or the other Loan
Documents, Lender may, at its option, proceed directly and at once, without notice, against


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Guarantor to collect and recover the full amount of the liability hereunder or any portion thereof,
without proceeding against Borrower or any other person, or foreclosing upon, selling, or
otherwise disposing of or collecting or applying against any of the mortgaged property or other
collateral for the Loan. Guarantor hereby waives the pleading of any statute of limitations as a
defense to the obligation hereunder.

        Section 1.10 The Guaranteed Obligations and the liabilities and obligations of the
Guarantor to Lender hereunder shall not be reduced, discharged or released because of or by
reason of any existing or future right of offset, claim or defense of Borrower or Guarantor
against Lender, or any other party, or against payment of the Guaranteed Obligations, whether
such right of offset, claim or defense arises in connection with the Guaranteed Obligations (or
the transactions creating the Guaranteed Obligations) or otherwise.

                                          ARTICLE II
                                REPRESENTATIONS AND WARRANTIES

        Section 2.1     Each Person constituting a Guarantor hereby warrants and represents unto
Lender that (i) any and all balance sheets, net worth statements and other financial data which
have heretofore been given or may hereafter be given to Lender with respect to Guarantor did or
will at the time of such delivery fairly and accurately present the financial condition of
Guarantor, (ii) neither Guarantor nor any managing member, general partner or controlling
stockholder of the Guarantor is currently a debtor in any bankruptcy, reorganization, insolvency
or similar proceeding, (iii) no material adverse change in the financial condition of Guarantor or
any managing member, general partner, trustee or controlling stockholder of Guarantor has
occurred between the respective dates of the financial statements which were furnished to the
Lender relating to such persons and the date hereof, (iv) the financial statements of Guarantor
(and those of its members, general partners, trustees or controlling stockholder, as the case may
be) furnished to the Lender pursuant to the commitment letter issued by Lender and accepted by
Borrower in connection with the Loan, reflect in each case a positive net worth as of the date
thereof, (v) Guarantor is not presently insolvent, and entering into this Guaranty will not render
the Guarantor insolvent and (vi) after the Loan is made and this Guaranty is executed and
delivered, Guarantor will have sufficient working capital to pay all of Guarantor's outstanding
debts as they come due. Guarantor further represents, warrants and covenants that, throughout
the term of the Loan, Guarantor shall not reduce or deplete its net worth or liquidity in an effort
to avoid its obligations (or contingent obligations) under this Guaranty. As used in this
Guaranty, the term "insolvent" means that the sum total of all of an entity's liabilities (whether
secured or unsecured, contingent or fixed, or liquidated or unliquidated) is in excess of the value
of all of such entity's non exempt assets, i.e., all of the assets of the entity that are available to
satisfy claims of creditors.

        Section 2.2    Guarantor (and its representative, executing below, if any) has full power,
authority and legal right to execute this Guaranty and to perform all its obligations under this
Guaranty.

       Section 2.3    This Guaranty is a legal and binding obligation of Guarantor and is
enforceable against Guarantor in accordance with its terms, except as limited by bankruptcy,
insolvency or other laws of general application relating to the enforcement of creditors' rights.


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                                                 ARTICLE III
                                            FINANCIAL COVENANTS

        Section 3.1     (a) Until all of the Obligations and the Guaranteed Obligations have been
paid in full, each Person constituting a Guarantor (i) shall collectively maintain (x) a Combined
Net Worth (hereinafter defined) of not less than $8,350,000.00 and (y) Combined Liquid Assets
(hereinafter defined) of not less than $300,000.00 (collectively, the "Financial Covenants"), (ii)
within forty-five (45) days following the end of each calendar quarter, shall deliver to Lender,
with respect to the prior calendar quarter, unaudited quarterly and year-to-date statements of
income and expense and cash flow prepared on a cash basis for such Guarantor, together with a
balance sheet as of the end of such prior calendar quarter for such Guarantor, together with a
certificate of such Guarantor (A) setting forth in reasonable detail such Guarantor's Net Worth
and Liquid Assets as of the end of such prior calendar quarter and based on the foregoing
quarterly financial statements, and (B) certifying that such quarterly financial statements are true,
correct, accurate and complete in all material respects and fairly present the financial condition
of such Guarantor in a manner consistent with the Approved Accounting Standard, and (iii)
within ninety (90) days following the end of each calendar year, shall deliver to Lender a
complete copy of such Guarantor's annual financial statements prepared and reviewed by an
independent certified public accountant reasonably acceptable to Lender in accordance with the
Approved Accounting Standard, including statements of income and expense and cash flow and
a balance sheet for such Guarantor, together with a certificate of such Guarantor (A) setting forth
in reasonable detail such Guarantor's Net Worth and Liquid Assets as of the end of such prior
calendar year and based on such annual financial statements, and (B) certifying that such annual
financial statements are true, correct, accurate and complete in all material respects and fairly
present the financial condition of such Guarantor.

         (b)    No Person constituting a Guarantor shall, at any time while a default in the
payment of the Guaranteed Obligations has occurred and is continuing, either (i) enter into or
effectuate any transaction with any Affiliate which would reduce the Net Worth of such
Guarantor, including, without limitation, the payment of any dividend or distribution to a
shareholder, partner or member as applicable, or the redemption, retirement, purchase or other
acquisition for consideration of any stock or other ownership interest in such Guarantor, or (ii)
sell, pledge, mortgage or otherwise transfer to any Person any of such Guarantor's assets, or any
interest therein, in each case on terms materially less favorable than would be obtained in an
arms-length transaction.

As used herein, the following terms shall have the respective meanings set forth below:

"Approved Accounting Standard" shall mean GAAP or so-called "income tax basis" or "cash
basis" of accounting or such other accounting standard reasonably acceptable to Lender,
consistently applied.

"GAAP" shall mean generally accepted accounting principles, consistently applied.

"Combined Liquid Assets" shall mean the sum of the Liquid Assets of each Guarantor.

"Combined Net Worth" shall mean the sum of the Net Worth of each Guarantor.



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"Liquid Assets" shall mean any of the following, but only to the extent owned individually, free
of all security interests, liens, pledges, charges or any other encumbrance: (a) cash, (b)
certificates of deposit (with a maturity of two years or less) issued by, or savings account with,
any bank or other financial institution reasonably acceptable to Lender or (c) marketable
securities listed on a national or international exchange reasonably acceptable to Lender, marked
to market.

"Net Worth" shall mean, as of a given date, (i) a Guarantor's total assets as of such date less (ii)
such Guarantor's total liabilities as of such date, determined in accordance with the Approved
Accounting Standard.

                                                     ARTICLE IV
                                                   MISCELLANEOUS

        Section 4.1    Each reference herein to Lender shall be deemed to include its successors
and assigns, to whose favor the provisions of this Guaranty shall also inure. Each reference
herein to Guarantor shall be deemed to refer to each and every person or entity comprising a
Guarantor from time to time, as the sense of a particular provision may require, and to include
the heirs, executors, administrators, legal representatives, successors and assigns of Guarantor,
all of whom shall be bound by the provisions of this Guaranty.

         Section 4.2    If Guarantor is a partnership, the agreements herein contained shall remain
in force and applicable, notwithstanding any changes in the individuals comprising the
partnership, and the term "Guarantor," as used herein, shall include any alternate or successor
partnership, but any predecessor partnership and their partners shall not thereby be released from
any liability. If Guarantor is a corporation or limited liability company, the agreements contained
herein shall remain in full force and applicable notwithstanding any changes in the shareholders
or members comprising, or the officers and directors or managers relating to, the corporation or
limited liability company, and the term "Guarantor" as used herein, shall include any alternative
or successor corporation or limited liability company, but any predecessor corporation or limited
liability company shall not be relieved of liability hereunder.

         Section 4.3  Guarantor's liability under this Guaranty shall be in addition to any
liability of Guarantor under any other guaranty or indemnity delivered by Guarantor in
connection with the Loan.

       Section 4.4    If Guarantor consists of more than one Person, the obligations of each
such Person or party shall be joint and several.

       Section 4.5   All understandings, representations and agreements heretofore had with
respect to this Guaranty are merged into this Guaranty which alone fully and completely
expresses the agreement of Guarantor and Lender.

     Section 4.6 GUARANTOR HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY LAW, THE RIGHT TO TRIAL BY JURY IN ANY ACTION,
PROCEEDING OR COUNTERCLAIM, WHETHER IN CONTRACT, TORT OR
OTHERWISE, RELATING DIRECTLY OR INDIRECTLY TO THE LOAN
EVIDENCED BY THE NOTE, THE APPLICATION FOR THE LOAN EVIDENCED BY


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THE NOTE, THE NOTE, THE LOAN AGREEMENT, THE SECURITY INSTRUMENT,
THIS GUARANTY OR THE OTHER LOAN DOCUMENTS OR ANY ACTS OR
OMISSIONS OF LENDER, ITS OFFICERS, EMPLOYEES, DIRECTORS OR AGENTS
IN CONNECTION THEREWITH.

        Section 4.7     This Guaranty may be executed in one or more counterparts by some or all
of the parties hereto, each of which counterparts shall be an original and all of which together
shall constitute a single agreement of Guaranty. The failure of any party hereto to execute this
Guaranty, or any counterpart hereof, shall not relieve the other signatories from their obligations
hereunder.

       Section 4.8    This Guaranty may not be modified, amended, waived, extended, changed,
discharged or terminated orally or by any act or failure to act on the part of Lender or Borrower,
but only by an agreement in writing signed by the party against whom enforcement of any
modification, amendment, waiver, extension, change, discharge or termination is sought.

THE WRITTEN GUARANTY REPRESENTS THE FINAL AGREEMENT BETWEEN
THE PARTIES HERETO AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OF THE
PARTIES HERETO. THERE ARE NO UNWRITTEN ORAL AGREEMENTS
BETWEEN THE PARTIES HERETO.

     Section 4.9 (a) THIS AGREEMENT AND THE OBLIGATIONS ARISING
HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF TEXAS APPLICABLE TO CONTRACTS
MADE AND PERFORMED IN SUCH STATE (WITHOUT REGARD TO PRINCIPLES
OF CONFLICT LAWS) AND ANY APPLICABLE LAW OF THE UNITED STATES OF
AMERICA.

      (b)  ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST LENDER OR
GUARANTOR ARISING OUT OF OR RELATING TO THIS GUARANTY SHALL AT
LENDER'S OPTION BE INSTITUTED IN ANY FEDERAL OR STATE COURT IN THE
CITY OF NEW YORK, COUNTY OF NEW YORK, PURSUANT TO TITLE 14
SECTION 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW, AND
GUARANTOR WAIVES ANY OBJECTIONS WHICH IT MAY NOW OR HEREAFTER
HA VE BASED ON VENUE AND/OR FORUM NON CONVENIENS OF ANY SUCH
SUIT, ACTION OR PROCEEDING, AND GUARANTOR HEREBY IRREVOCABLY
SUBMITS TO THE JURISDICTION OF ANY SUCH COURT IN ANY SUIT, ACTION
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       IN WITNESS WHEREOF, Guarantor has duly executed this Guaranty as of the date first
above set forth.
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                                                                               William Kornbluth, an individual




                                                                               Cheryl Tyler, an individual



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                                              executed this Guaranty as of the date first
       IN WITNESS WHEREOF, Guarantor has duly
above set forth.




                                                                           William Kornbluth, an individual




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